                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS

                                           )
SUSAN WALCH,                               )
     Plaintiff,                            )
                                           )          Civil Action No. 3:18-CV-30125
         vs.                               )
                                           )
RATCHFORD LAW GROUP, PC                    )          NOTICE OF SETTLEMENT
    Defendant.                             )
                                           )

         Notice is hereby given that the parties have reached a settlement in this case.

Plaintiff respectfully requests that this Court allow sixty (60) days within which to

complete the settlement, during which time Plaintiff requests the Court to retain

jurisdiction over this matter until fully resolved and final dismissal paperwork may be

filed.

Dated: February 15, 2019
                                               Respectfully submitted,

                                               SUSAN WALCH

                                               By her attorneys,

                                               /s/ Rosanne C. Leavitt
                                               Rosanne C. Leavitt (BBO # 549208)
                                               19 Wamsutta Drive
                                               North Attleboro, MA 02760
                                               Telephone: (508) 400-2823
                                               Facsimile: (866) 317-2674
                                               RLeavitt@ThompsonConsumerLaw.com

                                Co-counsel with Thompson Consumer Law Group, PLLC

                                               5235 E. Southern Ave., D106-618
                                               Mesa, AZ 85206




                                                                         Notice of Settlement
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                           CERTIFICATE OF SERVICE

       I certify that on February 15, 2019, I filed the foregoing document with the Clerk

of the U.S. District Court for Massachusetts, using the CM/ECF system of the Court

which will send notification of the same to Defendant through counsel of record below as

follows:

       Erin Reczek
       Ratchford Law Group, P.C.
       89 Newbury St., Ste. 205
       Danvers, MA 01923
       ereczek@ratchfordlawgroup.com
       Attorney for Defendant



                                             /s/Rosanne C. Leavitt
                                             Rosanne C. Leavitt




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